The majority interprets R.C. 2151.417(C) to require that the court conduct annual review hearings even where, as in the instant case, there is no case plan involved.  Although I believe the legislative intent on this issue is unclear, I concur with the conclusion the majority has reached, with reservations as to whether the factual situation in this case was contemplated by the drafters of the statute.  I write separately to note that, despite the fact there is no case plan, and thus there may be nothing to review at the annual review hearing, both the prosecutor and the public defender agree that an annual review should occur under these circumstances.  I would further note that, in a case such as this one, where legal custody has been ordered, continuing jurisdiction of the court may be invoked at anytime to bring the matter back to the trial court.